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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                      )
DWIGHT RUSSELL,                       )
JOHNNIE PIERSON,                      )
JOSEPH ORTUNO,                        )
                                      )
      On behalf of themselves and all )
      others similarly situated,      )                       Case No. 4:19-cv-00226
                                      )                       (Class Action)
              Plaintiffs,             )
                                      )
v.                                    )
                                      )
HARRIS COUNTY, TEXAS,                 )
                                      )
SHERIFF ED GONZALEZ,                  )
                                      )
              Defendants.             )
____________________________________)

                          JOINT MOTION FOR STAY OF 60 DAYS

       On February 5, 2019, the Court granted a 90-day stay of proceedings in the above-

captioned case so that the parties could discuss settlement. Plaintiffs, Harris County, and the Harris

County Sheriff are actively discussing the important issues in this case with each other and with

all stakeholders in the County, and are making progress toward a resolution. Although the

stakeholders’ main focus has been on urgently finalizing a resolution to the misdemeanor bail

lawsuit, ODonnell v. Harris County, Case No. 4:16-cv-1414 (S.D. Tex. 2016), the parties are

simultaneously making progress relating to the felony system as they negotiate new misdemeanor

systems and logistics. Accordingly, the parties respectfully request a 60-day stay of proceedings

in the above-captioned case to continue settlement discussions.




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                                  Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I certify that on May 8, 2019 a true and correct copy of this document properly was

served on counsel of record via electronic filing in accordance with the USDC, Southern District

of Texas Procedures for Electronic Filing.



                                                    /s/ Elizabeth Rossi
                                                    Elizabeth Rossi




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